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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 S.C.G. a minor child, through his next
                                )
 friend, JAMANIC REAVES, and    )
 K.L.P., on behalf of themselves and
                                )
 all others similarly situated, )
                                )
       Plaintiffs,              )
                                )
 vs.                            ) Case No.: 1:22-CV-01324-LMM
                                )
 CANDICE BROCE, in her official )
 capacity as COMMISSIONER OF )
 THE GEORGIA DEPARTMENT OF )
 HUMAN SERVICES,                )
                                )
       Defendant.               )

      DEFENDANT’S MOTION TO DISMISS AMENDED COMPLAINT

        Defendant Candice Broce, in her official capacity as Commissioner of the

Georgia Department of Human Services (“DHS”), hereby moves for the dismissal

of Plaintiffs’ Amended Complaint and claims pursuant to Fed. R. Civ. P. 12(b)(1)

and (6).

        Plaintiffs bring this civil rights lawsuit on behalf of themselves and a putative

class of children and young adults who are undocumented aliens in the custody of

the Georgia Division of Family and Children Services (“DFCS”). Their claims

relate to extended foster care benefits available in some circumstances after a child

reaches the age of 18. Plaintiffs contend that Defendant violated: (1) the federal


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Adoption Assistance and Child Welfare Act (“AACWA”) and O.C.G.A. § 15-11-

201, et seq. when it failed to implement Plaintiffs’ case plans by not hiring

immigration counsel for Plaintiffs to seek special immigrant juvenile status (“SIJS”);

and (2) the Due Process Clauses of the 14th Amendment and the Georgia

Constitution by failing to provide notice and a hearing to Plaintiffs when it did not

provide them with extended foster care benefits. Plaintiffs seek declaratory and

injunctive relief to correct these perceived wrongs.

        Under Fed. R. Civ. P. 12(b)(1) and (6), dismissal is warranted for at least three

reasons. First, Plaintiffs lack standing and their claims are otherwise moot because

Plaintiffs are over the age of 18 and ineligible for extended foster care services, and

because they filed for SIJS with their own immigration attorneys before filing this

lawsuit. Since their claims are barred, dismissal is warranted as to the entire putative

class. Second, the claims are barred by the Younger abstention doctrine, because

Plaintiffs ask this Court to oversee and administer pending juvenile court cases and

potentially issue rulings reserved to Georgia state court judges. Third, all four of

Plaintiffs’ Counts fail to satisfy the pleading standards set forth in Iqbal, Twombly,

and their progeny, or otherwise fail to state a claim upon which relief may be granted.

Each argument is discussed in detail in the supporting brief filed with this motion.




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          This 6th day of July, 2022.


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                             CERTIFICATE OF SERVICE
         I hereby certify that I have this day served a copy of the within and foregoing
  DEFENDANT’S MOTION TO DISMISS AMENDED COMPLAINT upon all
  parties to this matter by using the CM/ECF system which will send a notice of
  electronic filing to the following:
   Thomas C. Rawlings                        Joshua H. Norris
   Deborah A. Ausburn                        Law Office of Joshua H. Norris, LLC
   Taylor English and Duma LLP               One West Court Square, Suite 750
   1600 Parkwood Circle, Suite 200           Decatur, Georgia 30030
   Atlanta, Georgia 30339
         I further certify that the foregoing has been prepared with Times New Roman
  font in 14-point size, as approved by the Court in N.D. Ga. Local Rule 5.1(C).
          This 6th day of July, 2022.
/s/ Christopher M. Carr                          /s/T. Mills Fleming
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